Plaintiff entered into a contract with defendant village to construct for it a well of certain dimension and capacity. He sued to recover on the theory that he had performed the contract. The defense is that he did not perform, chiefly in respect of filing bond and of capacity of well. The issue was submitted to a jury, who found for plaintiff. From judgment on verdict, defendant has appealed, contending that the verdict is against the great weight of the evidence, and that, therefore, the trial judge erred in denying a motion for new trial. *Page 467 
The issue is close but simple, and the evidence quite contradictory. We have no doubt the verdict was rendered upon comprehension of the facts. Nothing will be gained by stating them further. We are in accord with the trial judge.
Affirmed.
McDONALD, C.J., and POTTER, SHARPE, NORTH, FEAD, WIEST, and BUTZEL, JJ., concurred.